                    Case 3:13-cr-00071-VLB                            Document 510             Filed 03/24/14    Page 1 of 1



    Loca l AO 24GB (Rev 011111 10) Ol der fOi a Pl esentence Investi gati on and RepOi t


                                             UNITED STATES DISTRICT COURT
                                                                                for the
                                                                       District of Connecticut

                 United States of America
                                                                                      )
                                      v.                                              )    Case No.      3:13cr71VLB
                                                                                      )
                  Ricardo Davila Mercado
                                                                                      )
                              Defendant                                               )

                                ORDER FOR A PRESENTENCE INVESTIGATION AND REPORT

      This defendant having been found guilty of one or more offenses against the United States, the
probation office is ordered to conduct an investigation and prepare a (check one) [g) standard report
 D modified report, to be used by this court in sentencing.
IT IS FURTHER ORDERED that:

 D At least 35 days before sentencing or [gJ by May 5. 2014 ,the initial presentence report shall be
 disclosed to counsel.



 D Within 14 days after receiving the report or [g) by May 19, 2014 ,the counsel shall submit to the
 probation office any objections in writing, or a statement that there are no objections.

 D No later than 14 days after the deadline for counsel's objections or [g) May 29,2014                                                   I


 the probation officer shall submit the final presentence report and any addenda to the court and
 disclose the revised presentence report to the defendant and counsel for the defendant and the
 government.

   Sentencing Memorandum Date:                                        Jun 5, 2014

    Response to Sentencing Memorandum Date:                                                Jun 9, 2014
                                                                                                                        c:       ~
              The sentencing date (check one)                                   [g) is set for    6/16/14 at 10:00am-=~          !            11
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                                                                                D will be set at a later date.         -\::0
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                                                                                                                       oCJ                     , ••
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        Within 3 days, the probation officer and defense counsel will arrange f     utl!al ly
   convenient date, time, and place for the presentence interview.              ~c:     .-;:
                                                                                                                             ~       ~

                                                                                                          lsI VLB
   Date:               Mar 24,2014                                                                    Judge's Signature
                                                                                                 Vanessa L. Bryant, USDJ
                                                                                                  Printed name and title
